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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


                                                  §
     APPLE INC.,                                  §
                                                  §
                   Plaintiff,                     §           Civil Action No. 2:21-cv-460
                                                  §
           v.                                     §
                                                  §
     TELEFONAKTIEBOLAGET LM                       §
     ERICSSON and ERICSSON INC.,                  §
                                                  §
                   Defendants.



                      THIRD AMENDED DOCKET CONTROL ORDER

         In accordance with the parties’ joint motion to amend, it is hereby ORDERED that the

following schedule of deadlines is in effect until further order of this Court:

      Amended Date              Original Date                       Deadline/Event

                         July 10, 2023             *Jury Selection – 9:00 a.m. in Marshall, Texas

                         June 12, 2023             * If a juror questionnaire is to be used, an
                                                   editable (in Microsoft Word format)
                                                   questionnaire shall be jointly submitted to the
                                                   Deputy Clerk in Charge by this date.1
                         June 5, 2023              *Pretrial Conference – 1:30 p.m. in Marshall,
                                                   Texas before Judge Rodney Gilstrap




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  The Parties are referred to the Court’s Standing Order Regarding Use of Juror Questionnaires
in Advance of Voir Dire.
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                 May 30, 2023        *Notify Court of Agreements Reached During
                                     Meet and Confer The parties are ordered to
                                     meet and confer on any outstanding objections
                                     or motions in limine. The parties shall advise
                                     the Court of any agreements reached no later
                                     than 1:00 p.m. three (3) business days before
                                     the pretrial conference.
                 May 30, 2023        * File Joint Pretrial Order, Joint Proposed Jury
                                     Instructions, Joint Proposed Verdict Form,
                                     Responses to Motions in Limine, Updated
                                     Exhibit Lists, Updated Witness Lists, and
                                     Updated Deposition Designations
                 May 22, 2023        *File Notice of Request for Daily Transcript or
                                     Real Time Reporting.

                                     If a daily transcript or real time reporting of
                                     court proceedings is requested for trial, the
                                     party or parties making said request shall file a
                                     notice with the Court and e-mail the Court
                                     Reporter, Shawn McRoberts, at
                                     shawn_mcroberts@txed.uscourts.gov.
                 May 15, 2023        File Motions in Limine

                                     The parties shall limit their motions in limine
                                     to issues that if improperly introduced at trial
                                     would be so prejudicial that the Court could
                                     not alleviate the prejudice by giving
                                     appropriate instructions to the jury.

                 May 15, 2023        Serve Objections to Rebuttal Pretrial
                                     Disclosures
                 May 8, 2023         Serve Objections to Pretrial Disclosures; and
                                     Serve Rebuttal Pretrial Disclosures


                 April 24, 2023      Serve Pretrial Disclosures (Witness List,
                                     Deposition Designations, and Exhibit List) by
                                     the Party with the Burden of Proof




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                        April 17, 2023           *Response to Dispositive Motions (including
                                                 Daubert Motions).
                                                 Responses to dispositive motions that were
                                                 filed prior to the dispositive motion deadline,
                                                 including Daubert Motions, shall be due in
                                                 accordance with Local Rule CV-7(e), not to
                                                 exceed the deadline as set forth in this Docket
                                                 Control Order. 2 Motions for Summary
                                                 Judgment shall comply with Local Rule CV-
                                                 56.

                        April 3, 2023            *File Motions to Strike Expert Testimony
                                                 (including Daubert Motions)
                                                 No motion to strike expert testimony
                                                 (including a Daubert motion) may be filed
                                                 after this date without leave of the Court.

                        April 3, 2023            *File Dispositive Motions

                                                 No dispositive motion may be filed after this
                                                 date without leave of the Court.

                                                 Motions shall comply with Local Rule CV-56
                                                 and Local Rule CV-7.

                                                 Motions to extend page limits will only be
                                                 granted in exceptional circumstances.
                                                 Exceptional circumstances require more than
                                                 agreement among the parties.

                        March 27, 2023           Deadline to Complete Expert Discovery

                        March 13, 2023           Serve Disclosures for Rebuttal Expert
                                                 Witnesses

                        February 21, 2023        Deadline to Complete Fact Discovery and File
                                                 Motions to Compel
                                                 Discovery



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  The parties are directed to Local Rule CV-7(d), which provides in part that “[a] party’s
failure to oppose a motion in the manner prescribed herein creates a presumption that the party
does not controvert the facts set out by movant and has no evidence to offer in opposition to the
motion.” If the deadline under Local Rule CV 7(e) exceeds the deadline for Response to
Dispositive Motions, the deadline for Response to Dispositive Motions controls.
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                 February 21, 2023   Serve Disclosures for Expert Witnesses by the
                                     Party with the Burden
                                     of Proof

                 February 8, 2023    Comply with P.R. 3-7 (Opinion of Counsel
                                     Defenses)

                 January 18, 2023    *Claim Construction Hearing – 9:00 a.m. in
                                     Marshall, Texas before Judge Rodney
                                     Gilstrap

                 January 4, 2023     *Comply with P.R. 4-5(d) (Joint Claim
                                     Construction Chart)

                 December 28, 2023   *Comply with P.R. 4-5(c) (Reply Claim
                                     Construction Brief)

                 December 21, 2022   Comply with P.R. 4-5(b) (Responsive Claim
                                     Construction Brief)

                 December 7, 2022    Comply with P.R. 4-5(a) (Opening Claim
                                     Construction Brief) and Submit Technical
                                     Tutorials (if any)

                                     Good cause must be shown to submit technical
                                     tutorials after the deadline to comply with P.R.
                                     4-5(a).

                 December 7, 2022    Deadline to Substantially Complete Document
                                     Production and Exchange Privilege Logs
                                     Counsel are expected to make good faith
                                     efforts to produce all required documents as
                                     soon as they are available and not wait until
                                     the substantial completion deadline.

                 November 23, 2022   Comply with P.R. 4-4 (Deadline to Complete
                                     Claim Construction
                                     Discovery)

                 November 16, 2022   File Response to Amended Pleadings




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                       November 2, 2022     *File Amended Pleadings

                                            It is not necessary to seek leave of Court to
                                            amend pleadings prior to this deadline unless
                                            the amendment seeks to assert additional
                                            patents.

                       October 26, 2022     Comply with P.R. 4-3 (Joint Claim
                                            Construction Statement)

    October 19, 2022   October 5, 2022      Comply with P.R. 4-2 (Exchange Preliminary
                                            Claim Constructions)

    September 28, 2022 September 14, 2022   Comply with P.R. 4-1 (Exchange Proposed
                                            Claim Terms)
                       June 17, 2022        Comply with Standing Order Regarding
                                            Subject-Matter Eligibility Contentions3

                       June 17, 2022        Comply with P.R. 3-3 & 3-4 (Invalidity
                                            Contentions)

                       April 22, 2022       Comply with P.R. 3-1 & 3-2 (Infringement
                                            Contentions)
                       April 6, 2022        *File Proposed Protective Order and Comply
                                            with Paragraphs 1 & 3 of the Discovery Order
                                            (Initial and Additional Disclosures) The
                                            Proposed Protective Order shall be filed as a
                                            separate motion with the caption indicating
                                            whether or not the proposed order is opposed
                                            in any part.

                       March 30, 2022       *File Proposed Docket Control Order and
                                            Proposed Discovery Order The Proposed
                                            Docket Control Order and Proposed Discovery
                                            Order shall be filed as separate motions with
                                            the caption indicating whether or not the
                                            proposed order is opposed in any part.




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http://www.txed.uscourts.gov/sites/default/files/judgeFiles/EDTX%20Standing%20Order%20Re
%20Subject%20Matter%20Eligibility%20Contentions%20.pdf [https://perma.cc/RQN2-YU5P]
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                       March 23, 2022            Join Additional Parties




(*) indicates a deadline that cannot be changed without showing good cause. Good cause
is not shown merely by indicating that the parties agree that the deadline should be
changed.

                             ADDITIONAL REQUIREMENTS

       Mediation: While certain cases may benefit from mediation, such may not be
appropriate for every case. The Court finds that the Parties are best suited to evaluate whether
mediation will benefit the case after the issuance of the Court’s claim construction order.
Accordingly, the Court ORDERS the Parties to file a Joint Notice indicating whether the case
should be referred for mediation within fourteen days of the issuance of the Court’s claim
construction order. As a part of such Joint Notice, the Parties should indicate whether they
have a mutually agreeable mediator for the Court to consider. If the Parties disagree about
whether mediation is appropriate, the Parties should set forth a brief statement of their
competing positions in the Joint Notice.

        Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubert
Motions: For each motion, the moving party shall provide the Court with two (2) hard copies
of the completed briefing (opening motion, response, reply, and if applicable, sur-reply),
excluding exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be single-
sided and must include the CM/ECF header. These copies shall be delivered to the Court within
three (3) business days after briefing has completed. For expert-related motions, complete digital
copies of the relevant expert report(s) and accompanying exhibits shall be submitted on a single
flash drive to the Court. Complete digital copies of the expert report(s) shall be delivered to the
Court no later than the dispositive motion deadline.

        Indefiniteness: In lieu of early motions for summary judgment, the parties are directed
to include any arguments related to the issue of indefiniteness in their Markman briefing, subject
to the local rules’ normal page limits.

        Lead Counsel: The Parties are directed to Local Rule CV-11(a)(1), which provides that
“[o]n the first appearance through counsel, each party shall designate a lead attorney on the
pleadings or otherwise.” Additionally, once designated, a party’s lead attorney may only be
changed by the filing of a Motion to Change Lead Counsel and thereafter obtaining from the
Court an Order granting leave to designate different lead counsel.

        Motions for Continuance: The following excuses will not warrant a continuance nor
justify a failure to comply with the discovery deadline:

(a)    The fact that there are motions for summary judgment or motions to dismiss pending;

(b)    The fact that one or more of the attorneys is set for trial in another court on the same
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        day, unless the other setting was made prior to the date of this order or was made as a
        special provision for the parties in the other case;

(c)     The failure to complete discovery prior to trial, unless the parties can demonstrate that it
        was impossible to complete discovery despite their good faith effort to do so.

        Amendments to the Docket Control Order (“DCO”): Any motion to alter any date
on the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO
shall include a proposed order that lists all of the remaining dates in one column (as above) and
the proposed changes to each date in an additional adjacent column (if there is no change for a
date the proposed date column should remain blank or indicate that it is unchanged). In other
words, the DCO in the proposed order should be complete such that one can clearly see all the
remaining deadlines and the changes, if any, to those deadlines, rather than needing to also refer
to an earlier version of the DCO.

        Proposed DCO: The Parties’ Proposed DCO should also follow the format described
above under “Amendments to the Docket Control Order (‘DCO’).”
  .
        Joint Pretrial Order: In the contentions of the Parties included in the Joint Pretrial
Order, the Plaintiff shall specify all allegedly infringed claims that will be asserted at trial. The
Plaintiff shall also specify the nature of each theory of infringement, including under which
subsections of 35 U.S.C. § 271 it alleges infringement, and whether the Plaintiff alleges divided
infringement or infringement under the doctrine of equivalents. Each Defendant shall indicate
the nature of each theory of invalidity, including invalidity for anticipation, obviousness,
subject-matter eligibility, written description, enablement, or any other basis for invalidity. The
Defendant shall also specify each prior art reference or combination of references upon which
the Defendant shall rely at trial, with respect to each theory of invalidity. The contentions of the
Parties may not be amended, supplemented, or dropped without leave of the Court based upon
a showing of good cause.

      So ORDERED and SIGNED this 14th day of September, 2022.




                                                          ____________________________________
                                                          RODNEY GILSTRAP
                                                          UNITED STATES DISTRICT JUDGE




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